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             In the United States Court of Federal Claims
                               OFFICE OF SPECIAL MASTERS
                                   (Filed: October 29, 2014)

* * * * * * * * * * * * * *                *      UNPUBLISHED
LESLIE HORNICK,                            *
                                           *      No. 14-530V
             Petitioner,                   *
                                           *
v.                                         *      Special Master Hamilton-Fieldman
                                           *
SECRETARY OF HEALTH                        *
AND HUMAN SERVICES,                        *      Ruling on Entitlement; Conceded;
                                           *      Influenza (Flu) Vaccine; Shoulder Injury
             Respondent.                   *      Related to Vaccine Administration
                                           *      (SIRVA).
* * * * * * * * * * * * * * *
Maximillian Muller, Muller Brazil, LLP, Philadelphia, PA, for Petitioner.
Alexis Babcock, United States Department of Justice, Washington, D.C., for Respondent.

                                RULING ON ENTITLEMENT 1

       On June 20, 2014, Leslie Hornick (“Petitioner”) filed a petition for compensation under
the National Vaccine Injury Compensation Program (“the Program”). 2 Petitioner alleged that an
influenza (“flu”) vaccination she received on October 10, 2013 caused her to suffer from a
shoulder injury related to vaccine administration (“SIRVA”).

        On October 28, 2014, Respondent filed a report pursuant to Vaccine Rule 4(c) in which
she concedes that Petitioner is entitled to compensation in this case. Specifically, Respondent
agrees that Petitioner’s alleged injury is consistent with SIRVA and that “a preponderance of the

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  Because this unpublished ruling contains a reasoned explanation for the action in this case, the
undersigned intends to post this decision on the website of the United States Court of Federal
Claims, in accordance with the E-Government Act of 2002 § 205, 44 U.S.C. § 3501 (2006). In
accordance with the Vaccine Rules, each party has 14 days within which to request redaction “of
any information furnished by that party: (1) that is a trade secret or commercial or financial in
substance and is privileged or confidential; or (2) that includes medical files or similar files, the
disclosure of which would constitute a clearly unwarranted invasion of privacy.” Vaccine Rule
18(b). Further, consistent with the rule requirement, a motion for redaction must include a
proposed redacted decision. If, upon review, the undersigned agrees that the identified material
fits within the requirements of that provision, such material will be deleted from public access.
2
 The Program comprises Part 2 of the National Childhood Vaccine Injury Act of 1986, 42
U.S.C. §§ 300aa-10 et seq. (hereinafter “Vaccine Act” or “the Act”). Hereafter, individual
section references will be to 42 U.S.C. § 300aa of the Act.
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evidence indicates that the injury was causally related to the vaccination.” Rule 4 Report at 3.

        A special master may determine whether a petitioner is entitled to compensation based
upon the record. A hearing is not required. §300aa-13; Vaccine Rule 8(d). In light of
Respondent’s concession and a review of the record, the undersigned finds that Petitioner is
entitled to compensation. This matter shall now proceed to the damages phase.

       IT IS SO ORDERED.

                                             s/ Lisa Hamilton-Fieldman
                                             Lisa Hamilton-Fieldman
                                             Special Master




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